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                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA,                        :
                                                 :
      v.                                         : Case No. 1:21-CR-00447-CJN-03
                                                 :
JOSHUA CHRISTOPHER DOOLIN,                       :
    Defendant.                                   :


                                NOTICE OF FILING

      COMES NOW, Allen H. Orenberg, and on behalf of defendant Joshua

Christopher Doolin, gives notice of the filing of a Letter to U.S. District Judge Carl

J. Nichols (dated October 20, 2021) – which is attached as an Exhibit.

                                        Respectfully Submitted,



                                        __________-S-___________________
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                             CERTIFICATE OF SERVICE

      I hereby certify that on the 20th day of October, 2021, a copy of the foregoing Notice

of Filing, with an Exhibit, was delivered to case registered parties by the CM/ECF court

system.




                                              ___________-S-___________________
                                              Allen H. Orenberg




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